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                      UNITED STATES DISTRICT COURT      1
                      EASTERN DISTRICT OF VIRGINIA
                                                                  MAR I 0 2020
                              Norfolk Division

                                                            CLERK, U.S. DISTRICT COURT
                                                                   NORFOLK_^VA


UNITED STATES OF AMERICA,

V.                                             CRIMINAL NO. 2:20cr20

TONYA SAXBY,

           Defendant.


                                   ORDER


     The Court has been advised that the defendant wishes to enter

a plea of guilty.       A United States Magistrate Judge is hereby

authorized, with the consent of the defendant, to conduct the

proceedings required by Federal Rule of Criminal Procedure 11

incident to the making of the plea.      See 28 U.S.C. § 636(b)(1); United

States V. Dees, 125 F.3d 261 (5th Cir. 1997).           The defendant may

consent   to   the   United   States   Magistrate   Judge   conducting        the

proceedings on a form provided by the Clerk.

     If, after conducting such proceedings, the Magistrate Judge

accepts the plea of guilty and the associated plea agreement, a

presentence investigation shall be conducted and a report shall be

prepared pursuant to Federal Rule of Criminal Procedure 32, and a

sentencing date shall be scheduled.           If the plea of guilty is

accepted, the District Judge will adjudicate guilt and will determine

and impose sentence.
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     The Clerk is DIRECTED to mail or deliver a copy of this Order

to counsel of record for the United States and for the defendant.

     It is so ORDERED.

                                                   JsL
                                     Rebecca Beach Smith
                                     Senior United States District Judge
                                             REBECCA BEACH SMITH
                                  SENIOR UNITED STATES DISTRICT JUDGE




March 10, 2020
